                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :     Case No.: 1:22-cr-00146-JKB
                                              :
RON ELFENBEIN,                                :
                                              :
       Defendant.                             :


                         MOTION TO WITHDRAW APPEARANCE


       1.      Undersigned counsel hereby moves for leave of the Court pursuant to Local Rule

201.3 to withdraw as counsel for Defendant Ron Elfenbein.

       2.      On April 29, 2022, undersigned counsel appeared on behalf of Defendant Ron

Elfein at his initial appearance and arraignment.

       3.      On May 5, 2022, undersigned counsel filed a Notice of Attorney Appearance on

behalf of Defendant Ron Elfenbein (Dkt. 8).

       4.      Thereafter, Defendant Ron Elfenbein notified undersigned counsel that he has

obtained alternative counsel.

       5.      Based on the foregoing facts, undersigned counsel hereby requests that the Court

enter an order pursuant to Local Rule 201.3 for leave of court to withdraw as counsel for

Defendant Ron Elfenbein.

Dated: May 5, 2022

                                              /s/ Jason Weinstein
                                              Jason Weinstein (Bar No. 18746)
                                              STEPTOE & JOHNSON LLP
                                              1330 Connecticut Avenue NW
                                              Washington, DC 20036
                                              Email: jweinstein@steptoe.com
                                              Tel. 202-429-8061
